Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 1 of 22 Page ID #:1437



 1   Heather L. Rosing (SBN 183986)
     hrosing@klinedinstlaw.com
 2   Daniel S. Agle (SBN 251090)
     dagle@klinedinstlaw.com
 3   KLINEDINST PC
     501 W. Broadway, Suite 600
 4   San Diego, CA 92101
     Tel: (619) 239-8131
 5
     Attorneys for Defendant DLA Piper
 6   LLP (US)
 7
 8
                          UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10
      BURTON W. WIAND, as Receiver on          Case No. 2:20-cv-08849-AB-PVC
11    behalf of EQUIALT FUND, LLC;
      EQUIALT FUND II, LLC; EQUIALT            DECLARATION OF MARK S.
12    FUND III, LLC; EA SIP, LLC;              GURLEY IN SUPPORT OF
      EQUIALT QUALIFIED                        DLA PIPER LLP (US)’S
13    OPPORTUNITY ZONE FUND, LP;               MOTION TO COMPEL
      EQUIALT SECURED INCOME                   ARBITRATION AND STAY
14    PORTFOLIO REIT, INC.; and their          CASE
      investors
15                                             Hearing Date: February 26, 2021
                     Plaintiffs,               Time: 10:00 a.m.
16                                             Place: Courtroom 7B
           vs.                                 Judge: Hon. André Birotte Jr.
17
      PAUL R. WASSGREN; FOX
18    ROTHSCHILD LLP; AND DLA PIPER
      LLP (US),
19                Defendants.
20
21
22
23
24
25
26
27
28


                    DECLARATION OF MARK S. GURLEY – 2:20-CV-08849-AB-PVC
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 2 of 22 Page ID #:1438



 1        I, Mark S. Gurley, pursuant to 28 U.S.C. § 1746, hereby affirm that I am over 18
 2   years of age and am competent to make the following declaration:
 3         1.     I am the Director of Operations in the Office of General Counsel at DLA
 4   Piper LLP (US) (“DLA”). I understand that I am submitting this declaration in
 5   connection with DLA’s memorandum in support of its motion to compel arbitration of
 6   the Plaintiffs’ claims against DLA in the above-captioned case. I have personal
 7   knowledge of the facts set forth herein, and they are true and correct to the best of my
 8   knowledge. If called, I would testify to these facts under oath.
 9         2.     DLA is a limited liability partnership with its headquarters in Baltimore,
10   Maryland.
11         3.     Paul Wassgren practiced as a partner at DLA’s Los Angeles office from
12   May 2017 through November 30, 2020.
13         4.     Exhibit A is a true and correct copy of the engagement agreement, dated
14   May 19, 2017, EquiAlt LLC executed with DLA for representation in connection with
15   general corporate matters.
16         5.     Exhibit B is a true and correct copy of the engagement agreement, dated
17   August 7, 2018, EquiAlt LLC executed with DLA pertaining to the formation of a
18   Qualified Opportunity Fund.
19         6.     According to DLA’s records, DLA has never been separately engaged by
20   EquiAlt Fund LLC, EquiAlt Fund II, LLC, EquiAlt Fund III, LLC, EA SIP, LLC;
21   EquiAlt Qualified Opportunity Zone Fund, LP, or EquiAlt Secured Income Portfolio
22   REIT, Inc. (collectively, “the Investment Funds”) to provide legal services.
23         7.     DLA does not have any separate engagement agreements with the
24   Investment Funds.
25         8.     All legal services DLA provided to EquiAlt LLC or its affiliates
26   (including the Investment Funds) were provided pursuant to EquiAlt LLC’s
27   engagement agreements with DLA.
28

                                               -2-
                      DECLARATION OF MARK S. GURLEY - 2:20-CV-08849-AB-PVC
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 3 of 22 Page ID #:1439
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 4 of 22 Page ID #:1440




                        Exhibit A
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 5 of 22 Page ID #:1441
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 6 of 22 Page ID #:1442
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 7 of 22 Page ID #:1443
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 8 of 22 Page ID #:1444
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 9 of 22 Page ID #:1445
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 10 of 22 Page ID
                                 #:1446
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 11 of 22 Page ID
                                 #:1447
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 12 of 22 Page ID
                                 #:1448
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 13 of 22 Page ID
                                 #:1449




                     Exhibit B
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 14 of 22 Page ID
                                 #:1450
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 15 of 22 Page ID
                                 #:1451
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 16 of 22 Page ID
                                 #:1452
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 17 of 22 Page ID
                                 #:1453
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 18 of 22 Page ID
                                 #:1454
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 19 of 22 Page ID
                                 #:1455
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 20 of 22 Page ID
                                 #:1456
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 21 of 22 Page ID
                                 #:1457
Case 2:20-cv-08849-AB-PVC Document 29-2 Filed 01/12/21 Page 22 of 22 Page ID
                                 #:1458
